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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


PAUL W. MOORE,                         )
                                       )
                Plaintiff,             )
                                       )
vs.                                    )             CIVIL ACTION NO. 2:09cv650-WHA
                                       )
CITIBANK (SOUTH DAKOTA), N.A., et al., )
                                       )
                Defendants.            )


                                             ORDER

        No response having been filed by the Plaintiff to the court’s order (Doc. #28), entered on

October 28, 2009, it is hereby

        ORDERED that the Defendant, HSBC Bank Nevada, N.A., is DISMISSED without

prejudice, pursuant to Rule 4(m), Fed. R.Civ.P.

        This order having disposed of the single remaining Defendant, the clerk is DIRECTED to

close the file.

        DONE this 19th day November, 2009.



                                             /s/ W. Harold Albritton
                                             W. HAROLD ALBRITTON
                                             SENIOR UNITED STATES DISTRICT JUDGE
